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 8                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
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10   MONETIZE.COM, INC., a Nevada     )           Case No.: 2:20-cv-4174-KES
     corporation, and DANNY BIBI, an  )
11                                    )
     individual,
                                      )
12                                    )           Hon. Karen E. Scott
                       Plaintiffs,
                                      )
13                                    )
          vs.                                     PROPOSED
                                      )
14
     CAPSPECIALTY, INC. d/b/a CAPITOL )           ORDER OF DISMISSAL
     INDEMNITY CORPORATION, a         )
15                                    )
     Wisconsin corporation,
                                      )
16                                    )
                       Defendant.
                                      )
17                                    )
18

19         Pursuant to the parties’ Stipulation to Dismiss, and good cause appearing
20   therefore,
21         IT IS HEREBY ORDERED that the above-referenced action between
22         Plaintiffs MONETIZE.COM, INC. and DANNY BIBI, and Defendant
23   CAPITOL INDEMNITY CORPORATION (erroneously sued as

24   CAPSPECIALTY, INC. d/b/a CAPITOL INDEMNITY CORPORATION),

25
     including all claims and counterclaims, is hereby dismissed with prejudice.
     ///
26
     ///
27
     Case 2:20-cv-04174-KES Document 30 Filed 10/02/20 Page 2 of 2 Page ID #:168




 1        Each Party will bear its own costs and attorneys' fees.
 2        IT IS SO ORDERED.
 3

 4                 10/02/2020
          DATED: _______________                 By: _____________________
                                                       KAREN E. SCOTT
 5                                               United States Magistrate Judge
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